            UNITED STATES BANKRUPTCY COURT

            FOR THE DISTRICT OF

            IN RE:                                                   }           CASE NUMBER
                                                                     }
                     Abengoa Bioenergy Biomass of Kansas, LLC        }           16-10446
                                                                     }
            DEBTOR(S).                                               }           CHAPTER 11


            DEBTOR'S STANDARD MONTHLY OPERATING REPORT (BUSINESS)

                                                        FOR THE PERIOD
                                                   FROM 12/1/2017            TO 12/31/2017


Guidelines established by the United States Trustee and FRBP 2015.


                                                                                  s/ Christine L. Schlomann
                                                                                 Attorney for Debtor’s Signature


Debtor's Address                                         Attorney's Address
and Phone Number:                                        and Phone Number:

16150 Main Circle Drive, Suite 300                        2345 Grand Blvd., Suite 1500

 Chesterfield, MO 64017                                    Kansas City, MO 64108 (816) 472-3153




Note: The original Monthly Operating Report is to be filed with the court and a copy simultaneously
provided to the United States Trustee Office. Monthly Operating Reports must be filed by the 21st day of
the following month.

For assistance in preparing the Monthly Operating Report, refer to the following resources on the United
States Trustee Program Website, http://www.justice.gov/ust/r20/index.htm.

1)          Instructions for Preparations of Debtor’s Chapter 11 Monthly Operating Report
2)          Initial Filing Requirements
3)          Frequently Asked Questions (FAQs)




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Abengoa Bioenergy Biomass of Kansas, LLC        BALANCE SHEET (Assets)
                                             Abengoa Bioenergy Biomass of Kansas, LLC
16-10446                                           Filing               Month
December 31, 2017                                   Date                Ending
March 23, 2016                                    03/23/16             12/31/17
CURRENT ASSETS
 Cash (business accounts)                               5,811,344           20,267,209
 Accounts Receivable (Sch A)                                  -                    -
 Inventory                                             17,413,370                  -
 Prepaid Expenses/Deposits                                314,695                  -
 Intercompany Assets                                      181,533              181,533
 Other Current Assets                                         -                    -
TOTAL CURRENT ASSETS                                   23,720,943           20,448,743


FIXED ASSETS
 Cost (Sch B)                                         858,981,024                  -
 Accumulated Depreciation                                (986,638)                 -
NET BOOK VALUE                                        857,994,386                  -


OTHER ASSETS                                                   -                   -


TOTAL ASSETS                                          881,715,329           20,448,743




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Abengoa Bioenergy Biomass of Kansas, LLC              BALANCE SHEET (Liabilities & Equity)
                                                         Abengoa Bioenergy Biomass of Kansas, LLC
16-10446                                                      Filing                   Month
December 31, 2017                                              Date                    Ending
March 23, 2016                                               03/23/16                 12/31/17
LIABILITIES
 Post Petition Debt (Sch C)                                                 -                       (141)

 Pre Petition Debt
   Secured                                                           (2,040,000)             (255,000)
   Unsecured Priority                                                       -                     -
   Unsecured Non-Priority                                           (28,407,302)          (19,205,640)
   Payroll Related Liabilities                                         (480,928)               (7,712)
   PPB Bank Debt                                                            -                     -
   Intercompany Liabilities                                        (131,883,809)         (133,530,306)
   Other Liabilities                                                 (9,658,103)           (1,231,646)
TOTAL LIABILITIES                                                  (172,470,143)         (154,230,446)


EQUITY
 Preferred & Common Stock                                          (680,003,456)         (680,003,456)
 Add'l Paid-In-Capital/Owner draws                                          -                     -
 Retained Earnings/Net Assets
    - through filing date                                           (29,241,729)           66,211,164
    - post filing date                                                                    747,573,995
TOTAL EQUITY                                                       (709,245,185)          133,781,703


TOTAL LIABILITIES & EQUITY                                         (881,715,329)          (20,448,743)




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Abengoa Bioenergy Biomass of Kansas, LLC           INCOME (LOSS) STATEMENT
                                                   Abengoa Bioenergy Biomass of Kansas, LLC
16-10446                                              Current Month        Case to Date
December 31, 2017                                    thru Month End           Ending
March 23, 2016                                           12/31/17                  12/31/17
GROSS SALES                                                           -                        -

COST OF GOODS SOLD
 Materials                                                            -              7,502,041.84
 Direct Labor                                                         -               (414,902.69)
 Manufacturing Overhead                                               -              5,284,376.43
   Total Cost of Goods Sold                                           -             12,371,515.58

GROSS PROFIT                                                          -             (12,371,515.58)

OPERATING EXPENSES
 Sales & Marketing                                                  -                         -
 Executive & Mgmt Salaries                                    37,664.79              1,143,424.07
 Office & Other Salaries                                            -                         -
 Fringe Benefits (pr taxes)                                   11,336.58                293,236.60
 Rent                                                               -                   54,127.32
 Travel & Entertainment                                        1,308.71                  2,142.80
 Attorney Fees                                                      -                         -
 Insurance                                                          -                  342,389.72
 Other Professional Fees                                     607,214.22              5,553,847.93
 Dues & Subscriptions                                               -                         -
 Telecommunications                                            5,309.00                307,128.83
 Office Supplies                                                    -                   24,752.86
Other                                      Other                 275.63            822,129,716.19
TOTAL OPERATING EXPENSES                                     663,108.93            829,850,766.32

OPERATING INCOME (LOSS)                                     (663,108.93)           (842,222,281.90)

OTHER EXPENSES
 USTP Quarterly Fees                                                  -                       -
 Depreciation & Amortization                                          -                367,139.72
 Intercompany Fees                                                    -                471,755.05
 Income Taxes                                                         -                       -
 Other Taxes                                                          -                  2,659.03
 Bank Fees                                                            -                       -
 Interest (net)                                                       -                (36,947.55)
TOTAL OTHER EXPENSES                                                  -                804,606.25

OTHER INCOME                                                          -             95,452,893.00

NET INCOME (LOSS)                                           (663,108.93)           (747,573,995.15)




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                                     MONTHLY SCHEDULE OF RECEIPTS AND DISBURSEMENTS (cont’d)

                                              Detail of Other Receipts and Other Disbursements

OTHER RECEIPTS:
Describe Each Item of Other Receipt and List Amount of Receipt. Write totals on Page MOR-2, Line 2C.

                                                                                                   Cumulative
                  Description                                      Current Month                  Petition to Date

Treasury                                                       $             -                $         66.78
AMEX Refund                                                    $             -                $          2.50
Vendor Refund                                                  $             -                $        300.00
Account Funded                                                 $             -                $      1,500.00
Ocean Park                                                     $             -                $     13,683.81
Pioneer Electric                                               $             -                $    120,250.74
First American Title                                           $             -                $ 43,903,059.02
Insurance Refund                                               $             -                $    118,699.00
TOTAL OTHER RECEIPTS                                           $             -                $ 44,157,561.85

“Other Receipts” includes Loans from Insiders and other sources (i.e. Officer/Owner, related parties
 directors, related corporations, etc.). Please describe below:

                                           Source
 Loan Amount                               of Funds                                                                  Repayment Schedule




OTHER DISBURSEMENTS:

Describe Each Item of Other Disbursement and List Amount of Disbursement. Write totals on Page MOR-2, Line 5W.

                                                                                                Cumulative
                  Description                                 Current Month                     Petition to Date
Shared Services                                               $             -                 $      583,291.17
Fund Cash Account                                             $             -                 $       12,495.00




TOTAL OTHER DISBURSEMENTS                                      $             -                $        595,786.17                         -




NOTE: Attach a current Balance Sheet and Income (Profit & Loss) Statement.




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                                                                        ATTACHMENT 1

                                                      MONTHLY ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

Name of Debtor:             Abengoa Bioenergy Biomass of Kansas, LLC                                     Case Number: 16-10446

REPORTING PERIOD BEGINNING 12/01/2017                 AND ENDING        12/31/2017


ACCOUNTS RECEIVABLE AT PETITION DATE:


                                                         ACCOUNTS RECEIVABLE RECONCILIATION
(Include all accounts receivable, pre-petition and post-petition, including charge card sales which have not been received):

                      Beginning of Month Balance                                           $         -   (a)

                        MINUS: Collection During the Month                                 $         -   (b)
                        PLUS/MINUS: Adjustments or Write-offs
                      End of Month Balance                                                 $         -   (c)

*For any adjustments or Write-offs provide explanation and supporting documentation, if applicable:



                                                     POST PETITION ACCOUNTS RECEIVABLE AGING
(Show the total for each aging category for all accounts receivable)

                      0-30 Days 31-60 Days             61-90 Days            Over 90Days     Total

                      $     -     $             -     $             -    $           -     $         -


For any receivables in the “Over 90 Days” category, please provide the following:

                                                     Receivable
    Customer                                           Date                                Status (Collection efforts taken, estimate of collectability,




(a)This number is carried forward from last month’s report. For the first report only, this number will be
   the balance as of the petition date.
(b)This must equal the number reported in the “Current Month” column of Schedule of Receipts and
    Disbursements (Page MOR-2, Line 2B).
(c)These two amounts must equal.




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                                                             ATTACHMENT 2

                                          MONTHLY ACCOUNTS PAYABLE AND SECURED PAYMENTS REPORT

Name of Debtor:        Abengoa Bioenergy Biomass of Kansas, LLC            Case Number:           16-10446

Reporting Period beginning       12/01/2017                      And Ending    12/31/2017

In the space below list all invoices or bills incurred and not paid since the filing of the petition. Do not include
amounts owed prior to filing the petition. In the alternative, a computer generated list of payables may be attached
provided all information requested below is included.


                                                  POST-PETITION ACCOUNTS PAYABLE
   Date                       Days
 Incurred                  Outstanding                 Vendor              Description                          Amount
See Attached ( ABBK AP Sub 2 tab )




TOTAL AMOUNT                                                                                                       141.03   (b)

☐ Check here if pre-petition debts have been paid. Attach an explanation and copies of supporting
  documentation.

                             ACCOUNTS PAYABLE RECONCILIATION (Post Petition Unsecured Debt Only)

Opening Balance                                                                                    (a)
   PLUS: New Indebtedness Incurred This Month
   MINUS: Amount Paid on Post Petition,
           Accounts Payable This Month
   PLUS/MINUS: Adjustments                                                                        *
Ending Month Balance                                                                              (c)

*For any adjustments provide explanation and supporting documentation, if applicable.




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                                                   SECURED PAYMENTS REPORT
List the status of Payments to Secured Creditors and Lessors (Post Petition Only). If you have entered into a
 modification agreement with a secured creditor/lessor, consult with your attorney and the United States Trustee
 Program prior to completing this section).


                                                                                Number                  Total
                                  Date                                          of Post                 Amount of
Secured                           Payment                Amount                 Petition                Post Petition
Creditor/                         Due This               Paid This              Payments                Payments
Lessor                            Month                  Month                  Delinquent              Delinquent




                                                                     (d)

(a)This number is carried forward from last month’s report. For the first report only, this number will be zero.
(b, c)The total of line (b) must equal line (c).
(d)This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements (Page MOR-2, Line 5N).




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                                                                                  ATTACHMENT 3

                                                                              INVENTORY AND FIXED ASSETS REPORT

Name of Debtor:          Abengoa Bioenergy Biomass of Kansas, LLC                       Case Number:              16-10446

Reporting Period beginning                    12/01/2017           And Ending              12/31/2017

                                                                                         INVENTORY REPORT

INVENTORY BALANCE AT PETITION DATE:              $                    17,413,370.00
INVENTORY RECONCILIATION:
              Inventory Balance at Beginning of Month             $               -                (a)
                PLUS: Inventory Purchased During Month            $               -
                MINUS: Inventory Used or Sold $                   $               -
                PLUS/MINUS: Adjustments or Write-downs            $               -
                                                                  $               -

METHOD OF COSTING INVENTORY:

*For any adjustments or write-downs provide explanation and supporting documentation, if applicable.

                                                                                 INVENTORY AGING

                   Less than 6            6 months to             Greater than                     Considered
                   months old             2 years old             2 years old                      Obsolete                  Total Inventory

                          0%                     0%                               0%                         0%                 =              0%

* Aging Percentages must equal 100%.
☐ Check here if inventory contains perishable items.

Description of Obsolete Inventory:

                                                                                         FIXED ASSET REPORT

FIXED ASSETS FAIR MARKET VALUE AT PETITION DATE:                  $               (b)
                                                                                   -               (b)
(Includes Property, Plant and Equipment)

BRIEF DESCRIPTION (First Report Only):



FIXED ASSETS RECONCILIATION:
Fixed Asset Book Value at Beginning of Month                      $               -                (a) (b)
                  MINUS: Depreciation Expense
                  PLUS: New Purchases                             $               -
                  PLUS/MINUS: Adjustments or Write-downs          $               -                *
Ending Monthly Balance                                            $               -

*For any adjustments or write-downs, provide explanation and supporting documentation, if applicable.


BRIEF DESCRIPTION OF FIXED ASSETS PURCHASED OR DISPOSED OF DURING THE REPORTING PERIOD:

(a)This number is carried forward from last month’s report. For the first report only, this number will be the
   balance as of the petition date.
(b)Fair Market Value is the amount at which fixed assets could be sold under current economic conditions.
   Book Value is the cost of the fixed assets minus accumulated depreciation and other adjustments.




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                                                                       ATTACHMENT 4A

                                                       MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor:          Abengoa Bioenergy Biomass of Kansas, LLC             Case Number:                      16-10446

Reporting Period beginning                   12/01/2017             And Ending    12/31/2017

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.justice.gov/ust/r20/index.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
 the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK:       Amarillo                                                     BRANCH:

                                                                              ACCOUNT NUMBER:                        200735

PURPOSE OF ACCOUNT:              OPERATING

                    Ending Balance per Bank Statement                                     $ 20,264,921.77                  (a)
                    Plus Total Amount of Outstanding Deposits                             $           -
                    Minus Total Amount of Outstanding Checks and other debits             $           -                    *
                    Minus Service Charges                                                 $           -
                    Ending Balance per Check Register                                     $ 20,264,921.77                  ** (a)

*Debit cards are used by

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment 4D:
 ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date               Amount       Payee                 Purpose                            Reason for Cash Disbursement

None




                                              TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                                            $________________Transferred to Payroll Account
                                            $________________Transferred to Tax Account




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                                              ATTACHMENT 4A

                                                                     MONTHLY SUMMARY OF BANK ACTIVITY - OPERATING ACCOUNT

Name of Debtor:                         Abengoa Bioenergy Biomass of Kansas, LLC             Case Number:                  16-10446

Reporting Period beginning                   12/01/2017                            And Ending    12/31/2017

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found at http://www.justice.gov/ust/r20/index.htm. If bank accounts
other than the three required by the United States Trustee Program are necessary, permission must be obtained from
 the United States Trustee prior to opening the accounts. Additionally, use of less than the three required bank
accounts must be approved by the United States Trustee.

NAME OF BANK:                     First National Bank                                           BRANCH:

                                                                                             ACCOUNT NUMBER:                  4290000202

PURPOSE OF ACCOUNT:              OPERATING

                                  Ending Balance per Bank Statement                                      $      2,287.71              (a)                      $ 20,267,209.48
                                  Plus Total Amount of Outstanding Deposits                              $           -
                                  Minus Total Amount of Outstanding Checks and other debits              $           -                *
                                  Minus Service Charges                                                  $           -
                                  Ending Balance per Check Register                                      $      2,287.71              ** (a)

*Debit cards are used by

**If Closing Balance is negative, provide explanation:


The following disbursements were paid in Cash (do not includes items reported as Petty Cash on Attachment 4D:
 ( ☐ Check here if cash disbursements were authorized by United States Trustee)

 Date                             Amount       Payee                  Purpose                            Reason for Cash Disbursement

None




                                                     TRANSFERS BETWEEN DEBTOR IN POSSESSION ACCOUNTS
“Total Amount of Outstanding Checks and other debits”, listed above, includes:

                                                           $________________Transferred to Payroll Account
                                                           $________________Transferred to Tax Account




(a) The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                                            ATTACHMENT 4B

                                                   MONTHLY SUMMARY OF BANK ACTIVITY - PAYROLL ACCOUNT

Name of Debtor:         Abengoa Bioenergy Biomass of Kansas, LLC Case Number:               16-10446

Reporting Period beginning 12/01/2017       And Ending    12/31/2017

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity.
A standard bank reconciliation form can be found at http://www.justice.gov/ust/r20/index.htm.

         Debtor does not have a separate payroll bank account, only uses operating checking account.
NAME OF BANK:                                             BRANCH:

ACCOUNT NAME:                                             ACCOUNT NUMBER:
PURPOSE OF ACCOUNT:              Payroll

                  Ending Balance per Bank Statement                                         $     -
                    Plus Total Amount of Outstanding Deposits
                    Minus Total Amount of Outstanding Checks and other debits               $     -            *
                    Minus Service Charges                                                   $     -
                  Ending Balance per Check Register                                         $     -            ** (a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:
The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized
by United States Trustee)

 Date                          Amount                     Payee                 Purpose                        Reason for Cash Disbursement




The following non-payroll disbursements were made from this account:

 Date                          Amount                     Payee                 Purpose                        Reason for Cash Disbursement




(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
    “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                                                  ATTACHMENT 4C

                                                            MONTHLY SUMMARY OF BANK ACTIVITY - TAX ACCOUNT

Name of Debtor:             Abengoa Bioenergy Biomass of Kansas, LLC              Case Number:           16-10446

Reporting Period beginning 12/01/2017         And Ending    12/31/2017

Attach a copy of current month bank statement and bank reconciliation to this Summary of Bank Activity. A
standard bank reconciliation form can be found on the United States Trustee website,
http://www.justice.gov/ust/r20/index.htm

            Debtor does not have a separate tax bank account, only uses operating checking account.
NAME OF BANK:                                                          BRANCH:

ACCOUNT NAME:                                                          ACCOUNT NUMBER:


PURPOSE OF ACCOUNT:                              Payroll

           Ending Balance per Bank Statement                                       $     -
             Plus Total Amount of Outstanding Deposits
             Minus Total Amount of Oustanding Checks and other debits              $     -               *
             Minus Service Charges                                                 $     -
           Ending Balance per Check Register                                       $     -               ** (a)

*Debit cards must not be issued on this account.

**If Closing Balance is negative, provide explanation:


The following disbursements were paid by Cash: ( ☐ Check here if cash disbursements were authorized by
                                                                      United States Trustee)
 Date                 Amount               Payee                    Purpose                          Reason for Cash Disbursement




The following non-tax disbursements were made from this account:

 Date                 Amount                 Payee                     Purpose                           Reason for Cash Disbursement




(a)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the amount reported as
   “Ending Balance” on Schedule of Receipts and Disbursements (Page MOR-2, Line 7).




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                                                ATTACHMENT 4D

                                     INVESTMENT ACCOUNTS AND PETTY CASH REPORT

                                                    INVESTMENT ACCOUNTS

Each savings and investment account, i.e. certificates of deposits, money market accounts, stocks
and bonds, etc., should be listed separately. Attach copies of account statements.

Type of Negotiable
                                                                            Current
Instrument     Face Value      Purchase Price       Date of Purchase       Market Value

NONE




TOTAL                                                                       $     -    (a)
                                             PETTY CASH REPORT

The following Petty Cash Drawers/Accounts are maintained:

               (Column 2)                (Column 3)                        (Column 4)
               Maximum                   Amount of Petty                    Difference between
Location of    Amount of Cash            Cash On Hand                       (Column 2) and
Box/Account    in Drawer/Acct.           At End of Month                     (Column 3)

NONE



TOTAL                                    $      -   (b)

For any Petty Cash Disbursements over $100 per transaction, attach copies of receipts. If
there are no receipts, provide an explanation



TOTAL INVESTMENT ACCOUNTS AND PETTY CASH(a + b)                             $    -     (c)

(c)The total of this line on Attachment 4A, 4B and 4C plus the total of 4D must equal the
   amount reported as “Ending Balance” on Schedule of Receipts and Disbursements (Page
   MOR-2, Line 7).



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                                                                       ATTACHMENT 5A

                                                          CHECK REGISTER - OPERATING ACCOUNT


Name of Debtor:               Abengoa Bioenergy Biomass of Kansas, LLC        Case Number:             16-10446

Reporting Period beginning       12/01/2017                                    And Ending     12/31/2017

NAME OF BANK:           Amarillo National Bank     BRANCH:

ACCOUNT NAME:           Abengoa Bioenergy Biomass of Kansas, LLC

ACCOUNT NUMBER:               200735

PURPOSE OF ACCOUNT:                OPERATING

Account for all disbursements, including voids, lost checks, stop payments, etc. In the
alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.

                        CHECK
DATE                    NUMBER                PAYEE               PURPOSE                              AMOUNT

See Attached DIP Register




TOTAL                                                                                                  $    -




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                                                                       ATTACHMENT 5B

                                                          CHECK REGISTER - PAYROLL ACCOUNT


Name of Debtor:                Abengoa Bioenergy Biomass of Kansas, LLC                       Case Number:   16-10446

Reporting Period beginning 12/01/2017      And Ending     12/31/2017

NAME OF BANK:            N/A                                           BRANCH:

ACCOUNT NAME:                                                          ACCOUNT NUMBER:

   Debtor does not have a separate payroll bank account, only uses operating checking account.
PURPOSE OF ACCOUNT:                            Payroll


alternative, a computer generated check register can be attached to this report, provided all the
information requested below is included.


              CHECK
 DATE         NUMBER                      AMOUNT                       PAYEE                  PURPOSE                   AMOUNT




TOTAL                                                                                                                   $   -




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                                                ATTACHMENT 5C

                                        CHECK REGISTER - TAX ACCOUNT


Name of Debtor:                Abengoa Bioenergy Biomass of Kansas, LLC          Case Number:           16-10446

Reporting Period beginning 12/01/2017           And Ending    12/31/2017

NAME OF BANK:            N/A                                         BRANCH:

ACCOUNT NAME:                                                        ACCOUNT NUMBER:


PURPOSE OF ACCOUNT:                    TAX




Account for all disbursements, including voids, lost checks, stop payments, etc. In the alternative, a computer-
generated check register can be attached to this report, provided all the information requested below is included.

                         CHECK
DATE                     NUMBER                   PAYEE                   PURPOSE                       AMOUNT




TOTAL                                                                                                                (d)
                                             SUMMARY OF TAXES PAID

Payroll Taxes Paid                                                                                                   (a)
Sales & Use Taxes Paid                                                                                               (b)
Other Taxes Paid
TOTAL                                                                                                                (d)


(a) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
     (Page MOR-2, Line 5O).
(b) This number is reported in the “Current Month” column of Schedule or Receipts and Disbursements
     (Page MOR-2, Line 5P).
(c) This number is reported in the “Current Month” column of Schedule of Receipts and Disbursements
     (Page MOR-2, Line 5Q).
(d) These two lines must be equal.




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                                               ATTACHMENT 6

                                            MONTHLY TAX REPORT

Name of Debtor:        Abengoa Bioenergy Biomass of Kansas, LLC                       Case Number:16-10446

Reporting Period beginning     12/01/2017       And Ending     12/31/2017

                                           TAXES OWED AND DUE

Report all unpaid post-petition taxes including Federal and State withholding FICA, State sales
tax, property tax, unemployment tax, State workmen's compensation, etc.

Name of           Date                                                                              Date Last
Taxing            Payment                                                                           Tax Return   Tax Return
Authority         Due                          Description                                Amount      Filed        Period

NONE




TOTAL                                                                                 $      -




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                                                        ATTACHMENT 7

                                   SUMMARY OF OFFICER OR OWNER COMPENSATION

                                 SUMMARY OF PERSONNEL AND INSURANCE COVERAGES

Name of Debtor:               Abengoa Bioenergy Biomass of Kansas, LLC                         Case Number:                16-10446

Reporting Period beginning        12/01/2017       And Ending     12/31/2017

Report all forms of compensation received by or paid on behalf of the Officer or Owner during the month. Include
car allowances, payments to retirement plans, loan repayments, payments of Officer/Owner’s personal expenses,
insurance premium payments, etc. Do not include reimbursement for business expenses Officer or Owner incurred
and for which detailed receipts are maintained in the accounting records.
                                                                         Payment
Name of Officer or Owner              Title                             Description                 Amount Paid
GSL                                Exec VP                     Payroll and allowance                20,906.98




                                                            PERSONNEL REPORT

                                                                                   Full Time                  Part Time
Number of employees at beginning of period                                              2                        2
Number hired during the period                                                          0                        0
Number terminated or resigned during period                                             0                        0
Number of employees on payroll at end of period                                         2                        2


                                                     CONFIRMATION OF INSURANCE

List all policies of insurance in effect, including but not limited to workers' compensation, liability, fire, theft,
comprehensive, vehicle, health and life. For the first report, attach a copy of the declaration sheet for each type of
insurance. For subsequent reports, attach a certificate of insurance for any policy in which a change occurs during
the month (new carrier, increased policy limits, renewal, etc.).

Agent                                                                                                                                  Date
and/or                  Phone                     Policy                          Coverage                    Expiration              Premium
Carrier                 Number                    Number                            Type                        Date                    Due




The following lapse in insurance coverage occurred this month:

Policy                  Date                      Date
Type                    Lapsed                    Reinstated                      Reason for Lapse




              Check here if U. S. Trustee has been listed as Certificate Holder for all insurance policies.




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                                                    ATTACHMENT 8


                             SIGNIFICANT DEVELOPMENTS DURING REPORTING PERIOD

Information to be provided on this page, includes, but is not limited to: (1) financial transactions that are not
reported on this report, such as the sale of real estate (attach closing statement); (2) non-financial transactions, such
as the substitution of assets or collateral; (3) modifications to loan agreements; (4) change in senior management, etc…
 Attach any relevant documents.




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